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                                           May 5, 2023
Honorable Joseph H. Rodriguez
United States District Court Judge
District of New Jersey
Mitchell H. Cohen Bldg. & U.S. Courthouse
4th & Cooper Streets
Camden, NJ 08101

                           Re: United States v. John Grier (21-524)


Dear Judge Rodriguez:

        We have received and reviewed the Government’s proposed voir dire questions as well as
the proposed instructions which precede them. We agree to the proposed voir dire questions and
instructions subject to the following objections:

INSTRUCTIONS

   •   We respectfully submit that deleting the paragraph that follows the bullet point listing of
       charges and begins with “The Government alleges…” would make the proposed
       instructions acceptable to the Defendant.

QUESTIONS

   •   We respectfully submit that (1) deleting question numbers 29; 35; 39; 79; 82 – 91; & 94;
       (2) revising the second sentence of question 68 to read “…and attorneys Stacy Ann
       Biancamano and Daniel Holzapfel of the law firm of Biancamano Law,”; and (3) revising
       the first sentence of question number 72 to read “This case involves allegations that the
       Defendant utilized excessive force and submitted a false police report regarding that force.”
       would make the proposed voir dire questions acceptable to the Defendant.

   •   Defendant has no additional voir dire questions to propose at this time.
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      Thank you for Your Honor’s time and thoughtful consideration in this regard.


                                          Respectfully submitted,

                                          s/ Daniel Holzapfel

                                          Daniel Holzapfel

Encls.
CC: Jason Richardson, AUSA
       Lindsey Harteis, AUSA
       Stuart Alterman, Esq.
       Daniel Holzapfel, Esq.
       John Grier
